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                               Proposed Order Page 1 of 3



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Proposed Attorneys for the Debtors

In re:                                                    Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                      Judge:

                Debtors.                                  Chapter: 11




               Recommended Local Form:               Followed           Modified


          ORDER AUTHORIZING RETENTION OF PHOENIX MANAGEMENT
         SERVICES, INC., AS RESTRUCTURING ADVISORS FOR THE DEBTORS

         The relief set forth on the following pages, numbered two (2) through three (3) is hereby
         ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-

Order Authorizing Retention of Phoenix Management Services, Inc., as Restructuring Advisors for the Debtors


In re:           Shapes/Arch Holdings L.L.C., et al.
Case No.:        08-
Applicant:       Shapes/Arch Holdings L.L.C., et al.

                  Trustee:                   Chap. 7                Chap. 11                 Chap. 13

                  Debtors:                   Chap. 11               Chap. 13

                  Official Committee of

Name of Professional:                 Phoenix Management Services, Inc.
Address of Professional:              110 Chadds Ford Commons
                                      Chadds Ford, PA 19317


          Attorney for:               Trustee              Debtors-in-Possession

                                       Official Committee of

          Accountant for:             Trustee              Debtor-in-Possession

                                       Official Committee of

          Other Professional:

                                       Realtor      Appraiser               Special Counsel

                                       Auctioneer  Other (specify):Debtors’ Restructuring Advisors



         Upon the applicant’s request for authorization to retain the professional named above,

         It is hereby ORDERED as follows:

         1.      The applicants, Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C.,

Accu-Weld L.L.C. and Ultra L.L.C., are authorized to retain the above party in the professional

capacity noted.

         2.      Compensation shall be paid in such amounts as may be allowed by the Court upon

proper application(s) therefor.


                                                       2
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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-

Order Authorizing Retention of Phoenix Management Services, Inc., as Restructuring Advisors for the Debtors


         3.      The effective date of the retention is the date the application was filed with the

Court.




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                                                       3
